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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)

                      DEFENDANTS’ STATUS REPORT REGARDING
                         TEMPORARY RESTRAINING ORDER

        On February 3, 2025, this Court entered a temporary restraining order (TRO) in the above-

captioned matter. That Order provides (among other things):

               “Defendants are enjoined from implementing, giving effect to, or reinstating under
                a different name the directives in OMB Memorandum M-25-13 with respect to the
                disbursement of Federal funds under all open awards;”

               “Defendants must provide written notice of the court’s temporary restraining order
                to all agencies to which OMB Memorandum M-25-13 was addressed. The written
                notice shall instruct those agencies that they may not take any steps to implement,
                give effect to, or reinstate under a different name the directives in OMB
                Memorandum M-25-13 with respect to the disbursement of Federal Funds under
                all open awards. It shall also instruct those agencies to release any disbursements
                on open awards that were paused due to OMB Memorandum M-25-13;”

               “Defendants shall file a status report on or before February 7, 2025, apprising the
                court of the status of its compliance with this Order, including by providing a copy
                of the written notice described above[.]”

ECF No. 30 at 29-30. In accordance with the Order’s directive that Defendants file a status report

“apprising the court of its compliance with this Order,” id. at 30, Defendants respectfully submit

this status report.

        Pursuant to the Court’s Order, attached hereto is a copy of the “written notice of the court’s

temporary restraining order” that Defendants sent “to all agencies to which OMB


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Memorandum M-25-13 was addressed.” This written notice was sent to agencies the night that

the Court’s TRO was entered—i.e., on February 3, 2025. As the attached reflects, Defendants

instructed the agencies that they “may not take any steps to implement, give effect to, or reinstate

under a different name the directives in OMB Memorandum M-25-13 with respect to the

disbursement of Federal Funds under all open awards.” Defendants also instructed the agencies

that they must “release any disbursements on open awards that were paused due to OMB

Memorandum M-25-13.”

        Undersigned counsel provided a copy of the attached written notice to Plaintiffs’ counsel

on February 5, 2025. Undersigned counsel understands that some agencies are still working

through the process of issuing all appropriate funding disbursements, but undersigned counsel is

not aware of any ongoing implementation of “the directives in OMB Memorandum M-25-13 with

respect to the disbursement of Federal funds under all open awards[.]” Undersigned counsel also

stated to Plaintiffs’ counsel via e-mail that “if there are specific grants/awards affecting your clients

that you’d like us to inquire about, please feel free to let us know.”

        Defendants respectfully submit that they have fully complied with the Court’s Order.

Defendants respectfully request that the Court notify Defendants if they have misunderstood the

intended scope of the Court’s Order.



Dated: February 5, 2025                                 Respectfully Submitted,

                                                        BRETT A. SHUMATE
                                                        Acting Assistant Attorney General

                                                        ALEXANDER K. HAAS
                                                        Director

                                                        /s/ Daniel Schwei
                                                        DANIEL SCHWEI



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